Case 2:19-cv-10949-DSF-PD Document 21 Filed 01/12/21 Page 1 of 2 Page ID #:2796



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   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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  11   ERIC ANDREW WARFIELD,                       Case No. CV 19-10949-DSF (PD)
  12                      Petitioner,
                                                   ORDER ACCEPTING REPORT
              v.
  13                                               AND ADOPTING, FINDINGS,
  14                                               CONCLUSIONS, AND
                                                   RECOMMENDATIONS OF
  15   SCOTT FRAUENHEIM,                           UNITED STATES
  16                       Respondent.             MAGISTRATE JUDGE, AND
                                                   DENYING CERTIFICATE OF
  17                                               APPEALABILITY
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  20         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the
  21   records on file, the Report and Recommendation of United States Magistrate
  22   Judge (“Report”), and Petitioner’s Objections to that Report. The Court has

  23   engaged in a de novo review of those portions of the Report to which Petitioner

  24   has objected. The Court accepts the Report and adopts it as its own findings

  25   and conclusions.

  26         Further, for the reasons stated in the Report and Recommendation, the

  27   Court finds that Petitioner has not made a substantial showing of the denial

  28   of a constitutional right and, therefore, a certificate of appealability is denied.
Case 2:19-cv-10949-DSF-PD Document 21 Filed 01/12/21 Page 2 of 2 Page ID #:2797



   1   See 28 U.S.C. § 2253(c)(2); Fed. R. App. P. 22(b); Miller-El v. Cockrell, 537
   2   U.S. 322, 336 (2003). Accordingly, the Petition is dismissed with prejudice.
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   4   DATED: January 12, 2021
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                                            Honorable Dale S. Fischer
   6                                        UNITED STATES DISTRICT JUDGE
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